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5
6    Attorney for Defendant
     DAVID USSERY
7
8
9
10                    IN THE UNITED STATES DISTRICT COURT
11                  FOR THE EASTERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,        ) Case No. 2:05-CR-0034 LKK
                                      )
14         Plaintiff,                 )
                                      ) STIPULATION AND ORDER
15                         vs.        ) CONTINUING HEARING ON
                                      ) VIOLATION PETITION
16   DAVID USSERY,                    )
                                      )
17         Defendant.                 ) Date:   February 20, 2014
                                      ) Time:   9:15 a.m.
18                                    ) Judge: Hon. Lawrence K. Karlton
                                      )
19
20
21        It is hereby stipulated and agreed between plaintiff,

22   United States of America, and defendant, David Ussery, that the

23   hearing scheduled for February 20, 2014, on the superseding

24   violation petition (filed January 6, 2014) may be continued to

25   May 6, 2014, at 9:15 a.m.

26        On February 12, 2014, at the request of the parties and

27   with the concurrence of the probation officer, the Magistrate

28   Judge ordered Mr. Ussery released to residential drug treatment

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1    at The Effort in Sacramento.      Mr. Ussery began the program
2    yesterday.   The parties and the probation office have agreed to
3    hold proceedings on the violation petition in abeyance in order
4    to afford Mr. Ussery an opportunity to complete the program.
5    Because his participation in the program will likely effect the
6    ultimate disposition on the violation petition, the parties ask
7    to continue the hearing to May 6, 2014.
8                                      Respectfully Submitted,
9                                      HEATHER E. WILLIAMS
                                       Federal Defender
10
11   Dated:   February 14, 2014        /s/ T. Zindel
                                       TIMOTHY ZINDEL
12                                     Assistant Federal Defender
                                       Attorney for DAVID USSERY
13
14                                     BENJAMIN B. WAGNER
                                       United States Attorney
15
16   Dated:   February 14, 2014        /s/ T. Zindel for J. Lee
                                       JUSTIN LEE
17                                     Assistant U.S. Attorney
18
19
                                     O R D E R
20
          For the reasons state above, hearing on the violation
21
     petition is continued to May 6, 2014, at 9:15 a.m.
22
23        IT IS SO ORDERED.

24
     Dated:   February 19, 2014
25
26
27
28

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